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                                 #:1070


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 15 Attorneys for Defendants
    UNIVERSAL TELEVISION, LLC,
 16 JAMES FALLON, and ELECTRIC HOT DOG, INC.
 17                        UNITED STATES DISTRICT COURT
 18                       CENTRAL DISTRICT OF CALIFORNIA
                                WESTERN DIVISION
 19
      JOHNNY JOHNSON, EZRA                     Case No. 2:22-cv-08909-FMO-PLA
 20
      BOEKWEG, MARIO POLOMBINI and
 21   ADAM TITCHER, Individually and on [PROPOSED] ORDER GRANTING
      Behalf of All Others Similarly Situated, UNIVERSAL DEFENDANTS’
 22                                            MOTION TO DISMISS THE FIRST
 23                    Plaintiffs,             AMENDED COMPLAINT
 24        v.                                  Date:        November 30, 2023
                                               Time:        10:00am
 25   YUGA LABS, INC., et al.,                 Dept:        Courtroom 6D
 26                                            Judge:       Hon. Fernando M. Olguin
                        Defendants.
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      [PROPOSED] ORDER GRANTING UNIVERSAL DEFENDANT’S MOTION TO DISMISS THE FIRST
      AMENDED COMPLAINT – CASE NO. 2:22-08909-FMO-PLA
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  1         The Motion to Dismiss the First Amended Complaint filed by defendants
  2 Universal Television, LLC, James Fallon, and Electric Hot Dog, Inc. (“Universal
  3 Defendants”) came on for hearing before the Honorable Fernando M. Olguin on
  4 November 30, 2023 at 10:00am in Courtroom 6D.
  5         Having considered the motion and all supporting papers and opposition papers
  6 and having heard the argument of counsel, IT IS HEREBY ORDERED that:
  7         1.    Universal Defendants’ Motion to Dismiss the First Amended Complaint
  8 is GRANTED; and
  9         2.    The claims against the Universal Defendants in the First Amended
 10 Complaint (“FAC”) are dismissed with prejudice.
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 13   Dated: _________________

 14
 15                                        Hon. Fernando M. Olguin
 16                                        United States District Judge

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      [PROPOSED] ORDER GRANTING UNIVERSAL DEFENDANT’S MOTION TO DISMISS THE FIRST
      AMENDED COMPLAINT – CASE NO. 2:22-08909-FMO-PLA
